     Case 1-15-44136-ess        Doc 134   Filed 03/26/18     Entered 03/26/18 14:52:03




                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK

____________________________________
                                    :
                                    :
In re:                              :
                                    :
THE VERMEIL LLC,                    :                      CHAPTER 11
                                    :                      Case No. 15-44136-ess
                                    :                      (Cases Jointly Administrated)
____________________________________:
                                    :
                                    :
In re:                              :
                                    :
STERLING & SEVENTH LLC,             :                      CHAPTER 11
                                    :                      Case No. 15-44135-ess
                                    :
____________________________________:


               NOTICE OF MOTION FOR ENTRY OF AN ORDER
           APPROVING THE SALE OF DEBTOR’S REAL PROPERTY
    KNOWN AS 133 STERLING PLACE, UNIT 1D, BROOKLYN, NEW YORK 11217
      AND 133 STERLING PLACE, UNIT 1E, BROOKLYN, NEW YORK 11217

        PLEASE TAKE NOTICE that the Debtor will move before the Honorable Elizabeth S.

Stong, United States Bankruptcy Judge, on April 26, 2018 at 10:00 a.m. in the United States

Bankruptcy Court, Courtroom 3585, United States Bankruptcy Court, 271 Cadman Plaza East,

Brooklyn, New York 11201, or as soon thereafter as counsel may be heard, seeking an Order

pursuant to U.S.C. §§ 105(a) and 363 (the “Bankruptcy Code”) and Rules 2002, 6004 and 9014

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), (1) Approving the sale

of the Debtor’s Real Property known as 133 Sterling Place, Unit 1D, Brooklyn, New York 11217

and 133 Sterling Place, Unit 1E, Brooklyn, New York 11217 and (2) for such other and further

relief as is just and proper.

        PLEASE TAKE FURTHER NOTICE that response or objections, if any, to the Motion


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     Case 1-15-44136-ess         Doc 134     Filed 03/26/18      Entered 03/26/18 14:52:03




must (i) be in writing, (ii) conform to the Bankruptcy Rules, Local Bankruptcy Rules and

General Orders, (iii) specify the name of the objecting party, and state with specificity the basis

of the objections(s) and the specific grounds therefore, and (iv) be filed with the Court

electronically, with a courtesy copy to the Honorable Elizabeth S. Stong’s chambers, and (v)

simultaneously served upon Barry D. Haberman Esq., Counsel for the Debtor, at 254 South Main

Street, #404, New City, New York 10956, so as to be received at least seven (7) days before the

return date of the within Motion.

       PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and

received by the Court, the Court may grant the relief requested herein.

       PLEASE TAKE FURTHER NOTICE that the hearing may be adjourned from time to

time without further notice other than the announcement of such adjournment in open court or by

posting of such adjourned date on the Court’s calendar on the aforementioned date.

       PLEASE TAKE FURTHER NOTICE that you need not appear at the Hearing if you

do not object to the relief requested in the Motion.

Dated: New City, New York
       March 26, 2018

                                                       Yours, etc.

                                                       /s/ Barry D. Haberman
                                                       BARRY D. HABERMAN, ESQ.
                                                       Attorney for Debtors
                                                       254 South Main Street, #404
                                                       New City, New York 10956
                                                       845-638-4294
                                                       bdhlaw@aol.com




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